    Case 2:15-cv-04479-SSV-JCW Document 109 Filed 04/21/16 Page 1 of 37



                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF LOUISIANA

ALANA CAIN, ET AL.                                           CIVIL ACTION

VERSUS                                                       NO. 15-4479

CITY OF NEW ORLEANS, ET AL.                                  SECTION: R(2)

                         ORDER AND REASONS

      Named plaintiffs Alana Cain, Ashton Brown, Reynaud Variste,

Reynajia Variste, Thaddeus Long, and Vanessa Maxwell filed this civil rights

action under 42 U.S.C. § 1983 seeking to declare the manner in which the

Orleans Parish Criminal District Court collects post-judgment court costs

from indigent debtors unconstitutional. According to plaintiffs, the Criminal

District Court and other, related actors maintain a policy of jailing criminal

defendants who fail to pay their court costs solely because of their indigence.1

      The “judicial defendants” move the Court to dismiss this case for lack

of subject matter jurisdiction.2 Although defendants concede that this Court

has subject matter jurisdiction over plaintiffs’ constitutional claims arising



1   See generally R. Doc. 7 (Plaintiffs’ First Amended Class Action
Complaint).
2     R. Doc. 52. The “judicial defendants” are the Orleans Parish Criminal
District Court, its thirteen judges, and the judicial administrator, Robert
Kazik. Originally, plaintiffs also sued the Criminal District Court clerk,
Arthur Morell, but he has been voluntarily dismissed. R. Doc. 65.

                                       1
     Case 2:15-cv-04479-SSV-JCW Document 109 Filed 04/21/16 Page 2 of 37



under section 1983, they argue that the facts and circumstances presented

here demand the Court’s abstaining from jurisdiction.3 For the following

reasons, the Court denies the motion.



I.    BACKGROUND

      A.    Factual Allegations

      In this section 1983 civil rights lawsuit, plaintiffs allege, on behalf of

themselves and those similarly situated, that the City of New Orleans, the

Orleans Parish Criminal District Court, its judges and judicial administrator,

and Orleans Parish Sheriff Marlin Gusman maintain an unconstitutional

scheme of jailing indigent criminal defendants and imposing excessive bail

amounts for nonpayment “offenses” in an effort to collect unpaid court

courts. According to plaintiffs, the Criminal District Court maintains an

internal “Collections Department,” informally called the “fines and fees”

department, that oversees the collection of court debts from former criminal

defendants. The “typical” case allegedly proceeds as follows.

      When a person is charged with a crime, the Criminal District Court

judges first determine whether the criminal defendant is legally “indigent,”




3     R. Doc. 52-1 at 1.

                                       2
    Case 2:15-cv-04479-SSV-JCW Document 109 Filed 04/21/16 Page 3 of 37



meaning they qualify for appointment of counsel through the Orleans Public

Defenders under Louisiana Revised Statutes § 15:175.               According to

plaintiffs, eight-five percent of the criminal defendants in Orleans Parish are

legally indigent.4 With assistance of counsel, the defendants either plead

guilty to their criminal charges or proceed to trial. If convicted, the criminal

defendants must appear before a judge at the Criminal District Court for

sentencing.

      At sentencing, in addition to imposing a term of imprisonment or

probation, the court may assess against the criminal defendants various

“court costs.” These costs may include restitution to any victim, a statutory

fine, fees, or other costs imposed at the judge’s discretion. According to

plaintiffs, the discretionary assessments “fund the District Attorney’s office,

the Public Defender, and the Court[,]” which rely on these collections “to

fund their operations and to pay employee salaries and extra benefits.”5

Plaintiffs allege that the Criminal District Court judges impose court costs

without inquiring into the criminal defendants’ ability to pay.6




4     R. Doc. 7 at 5.
5     Id. at 22-23 ¶ 88.
6     Id. at 23 ¶ 91.

                                       3
     Case 2:15-cv-04479-SSV-JCW Document 109 Filed 04/21/16 Page 4 of 37



      If the criminal defendants cannot immediately pay in full immediately,

the Criminal District Court judges direct them to the Collections

Department, or “fines and fees.” There, a Collections Department employee

imposes, at his discretion and without inquiring into a defendant’s ability to

pay, a payment schedule—usually requiring a certain amount per month.7

Collections Department employees also warn the defendants that failure to

pay the monthly amount, in full, will result in their arrests. Collections

Department employees refuse to accept anything less than full payment.8

      When criminal defendants fail to pay, a Collections Department

employee allegedly issues a pre-printed warrant for the defendant’s arrest by

forging a judge’s name.9 According to plaintiffs, the Collections Department

often issues these warrants “years after a purported nonpayment,” and the

warrants are “routinely issued in error” or without regard to a debtor’s

indigence.10

      Plaintiffs also allege that each Collections Department arrest warrant

is “accompanied by a preset $20,000 secured money bond required for


7     Id. at 27-28 ¶103.
8     Id. at 28 ¶ 106.
9     Id. at 29 ¶ 109.
10    Id. at ¶ 110.

                                      4
     Case 2:15-cv-04479-SSV-JCW Document 109 Filed 04/21/16 Page 5 of 37



release.”11 According to plaintiffs, defendants’ unwavering adherence to this

“automatic $20,000 secured money bond” requirement results from

defendants’ financial interest in state-court arrestees’ paying for their

release.12 Plaintiffs contend that the Criminal District Court judges collect

1.8% of each bond, while the Orleans Parish District Attorney’s office, the

Orleans Public Defenders’ office, and the Orleans Parish Sheriff each collect

0.4% of each bond.13

      When criminal defendants are arrested for nonpayment, they are

“routinely told” that to be released from prison, they must pay for the

$20,000 secured money bond, the entirety of their outstanding court debts,

or some other amount “unilaterally determine[d]” by the Collections

Department.14     As a result, these indigent debtors “languish” in prison

“indefinite[ly]” because they cannot afford to pay any of the foregoing

amounts.15 Although “arrestees are eventually brought to court,” the Sheriff,

the Criminal District Court, and the judges “have no set policy or practice”


11    Id. at ¶ 113.
12    Id. at 21-22 ¶88.
13    Id. at 22 ¶88.
14    Id. at 30 ¶114.
15    Id. at ¶115.

                                     5
     Case 2:15-cv-04479-SSV-JCW Document 109 Filed 04/21/16 Page 6 of 37



regarding how long arrestees must wait for a hearing. According to plaintiffs,

indigent debtors “routinely” spend a week or more in prison.16           Some

arrestees, with help from family and friends, pay for their release without

ever having a hearing and thus have “no opportunity to contest the debt or

the jailing.”17

      When criminal defendants are brought to court, the Criminal District

Court judges allegedly send them back to prison if they are unable to pay

their debts or release them “on threat of future arrest and incarceration” if

they do not promptly pay the Collections Department.18 At these brief

“failure-to-pay hearings,” the judges do not consider the debtors’ abilities to

pay. 19

      Plaintiffs contend that these practices are unconstitutional and have

created “a local debtors’ prison” in Orleans Parish.20




16    Id.
17    Id. at ¶114.
18    Id. at ¶116.
19    Id.
20    See R. Doc. 7 at 3.

                                      6
     Case 2:15-cv-04479-SSV-JCW Document 109 Filed 04/21/16 Page 7 of 37



      B.    Parties

      The named plaintiffs in the First Amended Complaint are six

individuals who were defendants in the Orleans Parish Criminal District

Court—Alana Cain, Ashton Brown, Reynaud Variste, Reynajia Variste,

Thaddeus Long, and Vanessa Maxwell.21 The facts pertaining to the named

plaintiffs, as alleged in their complaint, are as follows.

      The Criminal District Court appointed counsel from the Orleans Public

Defenders to represent each of the named plaintiffs, except Reynaud Variste,

during their criminal proceedings.22 Thus, the court must have determined

Cain, Brown, Reynajia Variste, Long, and Maxwell to be legally indigent


21    R. Doc. 7 at 7 ¶7.
22   R. Doc. 59-3 at 1 (Alana Cain Docket Sheet, entry for 12/04/2012)
(“Court appointed Alex Liu, OPD.”), 5 (Ashton Brown Docket Sheet, entry for
10/02/2013) (“Court appointed Seth Wayne, OPD.”), 9 (Reynajia Variste
Docket Sheet, entry for 10/02/2014) (“Court appointed Lindsey Samuel,
OPD.”) 23 (Vanessa Maxwell Docket Sheet, entry for 12/14/2011) (“Court
appointed Jerrod Thompson-Hicks, OIPD.”); R. Doc.95-7 at 1 (Thaddeus
Long Docket Sheet, entry for 06/02/2011) (“Court appointed Anna Fecker,
OIDP).

      On December 3, 2015, the Court took judicial notice of the facts
contained in the Criminal District Court docket sheets, signed guilty pleas,
sentencing hearing transcripts of certain named plaintiffs. R. Doc. 74. Since
then, defendants moved the Court to take judicial notice of the facts
contained in additional records, including court docket sheets, signed guilty
pleas, and sentencing hearing transcripts for other named plaintiffs. R. Doc.
95. To the extent the Court relies on these documents throughout this order,
defendants’ second motion to take judicial notice is granted in part.

                                        7
     Case 2:15-cv-04479-SSV-JCW Document 109 Filed 04/21/16 Page 8 of 37



under Louisiana Revised Statutes §15:175.23 Reynaud Variste appears to

have retained private counsel.24

      With the assistance of counsel, all of the named plaintiffs pleaded

guilty to their respective criminal charges, which include theft,25 battery,26

drug possession,27 “simple criminal damage,”28 and disturbing the peace.29

At plaintiffs’ sentencings, the presiding judges imposed terms of

imprisonment, which were often suspended, as well as terms of active or

inactive probation. In addition, the judges assessed against plaintiffs various

court costs—whether restitution, fines, and/or discretionary fees and costs.30


23    See R. Doc. 7 at 5.
24   R. Doc. 59-3 at 14 (Reynaud Variste Docket Sheet, entry for 9/25/2012)
(“Defendant must retain private counsel.”).
25    Id. at 4 (Alana Cain Guilty Plea), 8 (Ashton Brown Guilty Plea).
26    Id. at 12 (Reynajia Variste Guilty Plea).
27    Id. at 22 (Reynaud Variste Guilty Plea).
28    Id. at 28 (Vanessa Maxwell Guilty Plea).
29    R. Doc. 95-7 at 5 (Thaddeus Long Guilty Plea).
30   R. Doc. 59-3 at 2 (Alana Cain Docket Sheet, entry for 5/30/2013), 6
(Ashton Brown Docket Sheet, entry for 12/16/2013), 9 (Reynajia Variste
Docket Sheet, entry for 10/21/2014), 18 (Reynaud Variste Docket Sheet,
entry for 10/31/2013), 23 (Vanessa Maxwell Docket Sheet, entry for
3/06/2012); R. Doc. 95-7 at 1 (Thaddeus Long Docket Sheet, entry for
7/29/2011).

                                       8
     Case 2:15-cv-04479-SSV-JCW Document 109 Filed 04/21/16 Page 9 of 37



At some point, all of the named plaintiffs were arrested for failing to pay

outstanding court costs.

      For example, plaintiffs allege that on one occasion, Alana Cain

explained to a Collections Department supervisor that she could not satisfy

the full amount of her expected monthly payment.               The Collections

Department supervisor warned Cain that if she could not afford her monthly

payment, he would issue a warrant for her arrest.31 In March 2015, Cain was

arrested for failing to pay her court debts.32 Jail staff told Cain that her bail

was set at “a $20,000 secured bond pursuant to standard policy” and that

“there was no way to find out when her court date would be.”33 When Cain

eventually attended a hearing, the presiding judge told her that “if she ever

missed a payment again, she would have to spend 90 days in jail.”34 The

judge did not inquire into Cain’s ability to meet the monthly payments

imposed by the Collections Department.

      According to plaintiffs, in July and August 2015, Ashton Brown spent

twenty-nine days in prison solely because of unpaid debts stemming from a


31    R. Doc. 7 at 10 ¶ 18.
32    Id. at ¶¶20-22.
33    Id. at 10-11 ¶¶22-23.
34    Id. at 11 ¶27.

                                       9
     Case 2:15-cv-04479-SSV-JCW Document 109 Filed 04/21/16 Page 10 of 37



2013 conviction.35 When Brown finally received a hearing on the issue of his

nonpayment, the presiding judge refused to release Brown, “unless he paid

at least $100.”36 Because Brown could not afford to pay, the judge set

another hearing for several days later and warned Brown “that he would be

kept in jail unless he got a family member to pay.”37 Eventually, Brown’s

family “scrape[d] together $100,” and Brown was released.38 Collections

Department employees have since threatened arrest and jail time if Brown

does not continue making monthly payments.39

       Reynaud Variste was allegedly arrested for nonpayment in January

2015 when police “stormed [Variste’s] home with assault rifles and military

gear.”40 These officers told Variste “not to worry . . . because he simply owed

some old court costs.”41 In prison, jail staff allegedly told Variste that they




35     Id. at 12-13 ¶¶ 33-38.
36     Id. at 13 ¶ 38.
37     Id.
38     Id. at 14 ¶40.
39     Id.
40     Id. at ¶41.
41     Id. at ¶42.

                                      10
     Case 2:15-cv-04479-SSV-JCW Document 109 Filed 04/21/16 Page 11 of 37



“had no idea when or whether [he] would be taken to court.”42 A bail

bondsman told Variste that “he would probably not be released . . . until he

paid his entire court debts, which would be cheaper than paying the $20,000

money bond” imposed upon him.43 Eventually, Variste’s girlfriend paid “the

entire debt amount.” Variste was released from prison without a hearing.44

       Reynajia Variste was arrested in May 2015 for failing to pay her court

costs. Jail staff allegedly told Variste that she could pay her outstanding

court debts or post the “standard $20,000 money bond” to be released.45

While Variste was still in jail, a Collections Department employee told a

member of Variste’s family that Variste had to pay “at least $400 before [the

Collections Department] would agree to let [Variste] out of jail.”46 The

Collections Department allegedly arrived at this amount because it was

“close to half of what [Variste] owed in total.”47 Variste spent at least seven

days in prison and was never given a hearing before her family gathered


42     Id. at 15 ¶47.
43     Id.
44     Id. at ¶48.
45     Id. at 16 ¶55.
46     Id. at 17 ¶57.
47     Id.

                                      11
     Case 2:15-cv-04479-SSV-JCW Document 109 Filed 04/21/16 Page 12 of 37



enough money “to buy her release.”48 According to the First Amended

Complaint, the Collections Department continues to threaten Reynajia

Variste with prison time if she cannot make her monthly payments.49

       Plaintiffs contend that Thaddeus Long was wrongly arrested for failing

to pay his court costs because Long paid his debts in full years before.

According to the First Amended Complaint, Long was convicted in 2011 and

finished paying his court costs in October 2013.50 In June 2015, a New

Orleans police officer, conducting a traffic stop, discovered an outstanding

warrant for Long’s supposed nonpayment.51 The officer arrested Long, and

Long spent six days in prison, unable to post “the standard $20,000 secured

money bond” before he was given a hearing. At the failure-to-pay hearing,

Long explained that he had already paid his court debts in full, a “mistake . .

. apparent from the court records,” and he was released immediately.52




48     Id. at ¶60.
49     Id. at ¶ 64.
50     Id. at 18 ¶67.
51     Id.
52     Id. at ¶69.

                                      12
     Case 2:15-cv-04479-SSV-JCW Document 109 Filed 04/21/16 Page 13 of 37



       Vanessa Maxwell allegedly spent twelve days in prison after her arrest

for nonpayment before being brought to court.53 According to plaintiffs, the

presiding judge did not evaluate Maxwell’s present ability to pay, but

nonetheless made her release from prison contingent on Maxwell’s paying

$191 “within a week.”54 Plaintiffs contend that Maxwell was never able to

come up with the money, and Maxwell is now “in imminent danger of arrest

. . . pursuant to monetary conditions that she cannot [meet].”55

       Plaintiffs now sue the City of New Orleans for hiring the Criminal

District Court’s Collection Department workers, as well as the police officers

who execute the allegedly invalid arrest warrants.56 Plaintiffs also sue Sheriff

Marlin Gusman, in his official capacity, for “unconstitutionally detain[ing]

impoverished people indefinitely because of their inability to . . . pay[] for

their release.”57 In addition, plaintiffs sue the Orleans Parish Criminal

District Court for its role in managing and funding the Collections

Department, and the court’s Judicial Administrator, Robert Kazik, in his


53     Id. at 20 ¶83.
54     Id.
55     Id. at ¶84.
56     Id. at 7 ¶8.
57     Id. at 8 ¶12.

                                      13
     Case 2:15-cv-04479-SSV-JCW Document 109 Filed 04/21/16 Page 14 of 37



individual and official capacities, because he is allegedly responsible for

operating the Collections Department.58           Finally, plaintiffs name as

defendants every judge at the Criminal District Court—thirteen in all—

because they allegedly supervise the Collections Department employees and

have failed to provide the parish’s criminal defendants with constitutionally-

required process before imprisoning people for failure to pay court costs.

Plaintiffs sue the judges only for declaratory relief.59

       C.    Plaintiffs’ Claims for Relief

       Plaintiffs filed this civil rights action under 42 U.S.C. § 1983, alleging

violations of their Fourth and Fourteenth Amendment rights, as well as

violations of Louisiana tort law.        Plaintiffs seek damages (including

attorneys’ fees) and an injunction against all defendants, except the judges.

Plaintiffs also seek a declaratory judgment regarding the constitutionality of

defendants’ practices.

       The Court summarizes plaintiffs’ allegations, as articulated in the First

Amended Complaint, as follows:




58     Id. at 7-8 ¶¶9-10.
59     Id. at 8 ¶13.

                                       14
Case 2:15-cv-04479-SSV-JCW Document 109 Filed 04/21/16 Page 15 of 37



(1)     Defendants’ policy of issuing and executing arrest warrants for

        nonpayment of court costs is unconstitutional under the Fourth

        Amendment and the Due Process Clause of the Fourteenth

        Amendment;

(2)     Defendants’ policy of requiring a $20,000 “fixed secured money

        bond” for each Collections Department warrant (issued for

        nonpayment of court costs) is unconstitutional under the Due

        Process Clause and the Equal Protection Clause of the

        Fourteenth Amendment;

(3)     Defendants’ policy of indefinitely jailing indigent debtors for

        nonpayment of court costs without a judicial hearing is

        unconstitutional under the Due Process Clause of the Fourteenth

        Amendment;

(4)     Defendants’ “scheme of money bonds” to fund certain judicial

        actors is unconstitutional under the Due Process Clause of the

        Fourteenth Amendment. To the extent defendants argue this

        scheme is in compliance with Louisiana Revised Statutes §§

        13:1381.5 and 22:822, which govern the percentage of each

        surety bond that the judicial actors receive, those statutes are

        unconstitutional;


                                 15
   Case 2:15-cv-04479-SSV-JCW Document 109 Filed 04/21/16 Page 16 of 37



  (5)        Defendants’ policy of jailing indigent debtors for nonpayment of

             court costs without any inquiry into their ability to pay is

             unconstitutional under the Due Process Clause and the Equal

             Protection Clause of the Fourteenth Amendment;

  (6)        Defendants’ policy of jailing and threatening to imprison

             criminal defendants for nonpayment of court debts is

             unconstitutional under the Equal Protection Clause of the

             Fourteenth Amendment because it imposes unduly harsh and

             punitive restrictions on debtors whose creditor is the State, as

             compared to debtors who owe money to private creditors;

  (7)        Defendants’ conduct constitutes wrongful arrest under Louisiana

             law; and

  (8)        Defendants’ conduct constitutes wrongful imprisonment under

             Louisiana law.

        D.   The Judicial Defendants’ Motion to Dismiss

        The Orleans Parish Criminal District Court, the thirteen judges, and

the judicial administrator now move to dismiss plaintiffs’ suit for lack of

subject matter jurisdiction under Federal Rule of Civil Procedure 12(b)(1).

Defendants admit that plaintiffs invoke the Court’s subject matter

jurisdiction, see 28 U.S.C. § 1331, because plaintiffs’ constitutional claims


                                      16
      Case 2:15-cv-04479-SSV-JCW Document 109 Filed 04/21/16 Page 17 of 37



arise under section 1983.60 Nonetheless, defendants argue that “important

considerations of comity and federalism” demand that the Court decline

jurisdiction in this case.61 Defendants urge the Court to abstain under the

doctrines announced in Younger v. Harris, 401 U.S. 37 (1971) (“Younger

abstention”); Burford v. Sun Oil Co., 319 U.S. 315 (1943) (“Burford

abstention”); and Rooker v. Fidelity Trust Co., 263 U.S. 413 (1923) and D.C.

Court of Appeals v. Feldman, 460 U.S. 462 (1983) (collectively, the “Rooker-

Feldman doctrine”). The Court first addresses whether certain plaintiffs

have standing and then addresses each of defendants’ arguments in turn.



II.     LEGAL STANDARD

        Motions submitted under Rule 12(b)(1) of Federal Rules of Civil

Procedure allow a party to challenge the court's subject matter jurisdiction

on the allegations of the complaint. Lopez v. City of Dallas, Tex., 2006 WL

1450520, *2 (N.D. Tex. 2006). In ruling on a Rule 12(b)(1) motion to



60    Defendants do not address the Court’s supplemental jurisdiction to
hear plaintiffs’ state-law claims, which are “so related” to the constitutional
claims as to “form part of the same case or controversy.” See 28 U.S. § 1367.
Defendants’ arguments for dismissal are directed only to plaintiffs’
constitutional claims. See R. Doc. 52-1. Accordingly, the Court’s analysis is
limited to plaintiffs’ claims arising under section 1983.
61      Id. at 1-2.

                                      17
   Case 2:15-cv-04479-SSV-JCW Document 109 Filed 04/21/16 Page 18 of 37



dismiss, the court may rely on (1) the complaint alone, presuming the

allegations to be true, (2) the complaint supplemented by undisputed facts,

or (3) the complaint supplemented by undisputed facts and by the court's

resolution of disputed facts. See Montez v. Dep’t of Navy, 392 F.3d 147, 149

(5th Cir. 2004). The plaintiff bears the burden of demonstrating that subject

matter jurisdiction exists. See Paterson v. Weinberger, 644 F.2d 521, 523

(5th Cir. 1981). When examining a factual challenge to subject matter

jurisdiction that does not implicate the merits of plaintiff's cause of action,

the district court has substantial authority “to weigh the evidence and satisfy

itself as to the existence of its power to hear the case.” Garcia v. Copenhaver,

Bell & Assocs., 104 F.3d 1256, 1261 (11th Cir. 1997); see also Clark v. Tarrant

County, 798 F.2d 736, 741 (5th Cir. 1986). Accordingly, the court may

consider matters outside the pleadings, such as testimony and affidavits. See

Garcia, 104 F.3d at 1261. A court's dismissal of a case for lack of subject

matter jurisdiction is not a decision on the merits, and the dismissal does not

prevent the plaintiff from pursuing the claim in another forum. See Hitt v.

City of Pasadena, 561 F.2d 606, 608 (5th Cir. 1977).



III. DISCUSSION

      A.    Reynaud Variste’s and Thaddeus Long’s Standing to
            Pursue Equitable Relief

                                      18
   Case 2:15-cv-04479-SSV-JCW Document 109 Filed 04/21/16 Page 19 of 37




      Defendants do not raise the issue of plaintiffs’ Article III standing.

When necessary, however, a federal court must address the issue of standing

on its own. Ford v. NYLCare Health Plans of Gulf Coast, Inc., 301 F.3d 329,

331-32 (5th Cir. 2002) (citations omitted).

      Article III of the Constitution requires plaintiffs in federal court to

allege an actual “case or controversy.” O’Shea v. Littleton, 414 U.S. 488, 493

(1974); see generally U.S. Const. art. III, § 2 (“The judicial power shall extend

to all cases [and] to controversies . . . .”).        The case-or-controversy

requirement means that plaintiffs “must allege some threatened or actual

injury resulting from the [defendants’] putatively illegal action before a

federal court may assume jurisdiction.” Id. (quoting Linda R.S. v. Richard

D., 410 U.S. 614, 617 (1973)). “Abstract injury is not enough. . . . The injury

or threat of injury must be both real and immediate.” Id. at 494 (quoting

Golden v. Zwickler, 394 U.S. 103, 109-110 (1969)). For plaintiffs seeking

equitable relief, “past exposure to illegal conduct does not in itself show a

present case or controversy . . . if unaccompanied by any continuing, present

adverse effects.” Id. at 495-96; see also City of Los Angeles v. Lyons, 461

U.S. 95, 105 (1983) (finding allegation that defendants “routinely” engage in

unconstitutional conduct “falls far short of the allegations . . . necessary to

establish a case or controversy” for plaintiff seeking injunctive relief).

                                       19
     Case 2:15-cv-04479-SSV-JCW Document 109 Filed 04/21/16 Page 20 of 37



       Here, by plaintiffs’ own allegations, and the Criminal District Court

records of which this Court has taken judicial notice, neither Reynaud

Variste nor Thaddeus Long owe any outstanding court costs for which they

may be imprisoned according to defendants’ allegedly unconstitutional

policy.62 Nor are they currently incarcerated for past-due debts. Because

Variste and Long have no outstanding debts and are not currently

incarcerated, they are not suffering any “real or immediate” injury or threat

of the alleged injury—the unconstitutional arrest and imprisonment as a

result of their indigence. Cf. Ray v. Judicial Corr. Servs., No. 12-CV-02819-

RDP, 2013 WL 5428360, at *(N.D. Ala. Sept. 26, 2013) (“Plaintiffs are

experiencing continuing, present adverse effects [because] all of the

Plaintiffs are still on probation and still owe various fines and fees.”).

       Any “prospect of future injury” assumes that Variste and Long will

again be charged with violations of Louisiana criminal law, will again be

assessed with courts costs that they cannot pay, and will again be arrested

and imprisoned for nonpayment. O’Shea, 414 U.S. at 496. But the Court



62    See R. Doc. 7 at 15 (noting that after his arrest in 2015, Reynaud Variste
“eventually used his paycheck to pay the entire debt amount”), 18 (alleging
that Thaddeus Long was wrongfully arrested for failing to pay because he
“paid his debts in full in October 2013”); R. Doc. 59-3 at 20 (Reynaud Variste
Docket Sheet) (“The defendant has paid all fines and fees as ordered by the
court.”); R. Doc. 95-7 at 1-2 (Thaddeus Long Docket Sheet) (same).

                                       20
   Case 2:15-cv-04479-SSV-JCW Document 109 Filed 04/21/16 Page 21 of 37



must assume that plaintiffs “will conduct their activities within the law and

so avoid prosecution and conviction as well as exposure to the challenged

course of conduct.” Id. at 497. Thus, any threat of injury is mere “speculation

and conjecture”—too abstract to satisfy Article III’s requirement of a “case or

controversy.” See id.

      Because Reynaud Variste and Thaddeus Long lack standing to pursue

their claims for equitable relief, the Court dismisses their claims for

declaratory and injunctive relief against all defendants.       See generally

Society of Separationists, Inc. v. Herman, 959 F.2d 1283, 1285 (5th Cir.

1992) (“[P]laintiffs may lack standing to seek prospective relief even though

they have standing to sue for damages.”).

      In addressing defendants’ arguments for dismissal in the remainder of

this order, the Court will refer only to plaintiffs Cain, Brown, Reynajia

Variste, and Maxwell where necessary.

      B.    Heck v. Humphrey Does Not Bar Plaintiffs’ Section
            1983 Claims for Damages

      The Court begins with an analysis of Heck v. Humphrey, 512 U.S. 477

(1994). Heck is not a traditional abstention case like the other doctrines

defendants contend require dismissal. Nonetheless, because defendants

briefly argue it, the Court will address it.



                                        21
   Case 2:15-cv-04479-SSV-JCW Document 109 Filed 04/21/16 Page 22 of 37



      In Heck, the United States Supreme Court held that a criminal

defendant may not challenge the constitutionality of his conviction or

sentence in a suit for damages under 42 U.S.C. § 1983 unless that conviction

or sentence has been reversed on direct appeal, expunged by executive order,

declared invalid by a state court, or called into question by a federal court’s

issuing a writ of habeas corpus. 512 U.S. at 486-87. A criminal defendant

challenges the constitutionality of his conviction or sentence in a section

1983 case when “establishing the basis for the damages claim necessarily

demonstrates the invalidity of the conviction.” Id. at 482-83. In other words,

Heck bars suit when the factual findings necessary to prevail on the 1983

claim directly contradict or undermine the factual findings underlying the

plaintiff’s criminal conviction. For example, Heck often applies in 1983

claims for offenses such as false imprisonment, use of excessive force, or

malicious prosecution against the plaintiff’s arresting officers or others. See,

e.g., DeLeon v. City of Corpus Christi, 488 F.3d 649 (5th Cir. 2007)

(applying Heck to claims for false arrest, false imprisonment, malicious

prosecution, illegal search and seizure, and use of excessive force);

LaMartina-Howell v. St. Tammany Par. Sch. Bd., No. 07-1168, 2009 WL

3837323, at *6 (E.D. La. Nov. 12, 2009) (applying Heck to plaintiff’s claim of




                                      22
     Case 2:15-cv-04479-SSV-JCW Document 109 Filed 04/21/16 Page 23 of 37



false arrest because it would undermine plaintiff’s state-court conviction for

resisting arrest).

       Here, the named plaintiffs have all pleaded guilty to various criminal

offenses under Louisiana law. Alana Cain was convicted of theft of $1500 or

more for stealing a ring.63 Ashton Brown was convicted of misdemeanor

theft of under $500.64 Reynajia Variste and Vanessa Maxwell were both

convicted of second-degree battery.65 Maxwell was also convicted of “simple

criminal damage under $500.”66 In this section 1983 action, plaintiffs allege

that the Orleans Parish Criminal District Court, its judges, and other actors

maintain an unconstitutional policy of issuing post-judgment arrest

warrants and indefinitely jailing criminal defendants for their failure to pay

outstanding court costs. Plaintiffs contend, among other things, that this

violates the Due Process Clause of the Fourteenth Amendment because

defendants routinely deny the state-court criminal defendants judicial



63    R. Doc. 59-3 at 4 (Alana Cain Guilty Plea); R. Doc. 59-4 at 3 (Transcript
of Alana Cain’s Guilty Plea).
64   R. Doc. 59-3 at 5 (Ashton Brown Guilty Plea); R. Doc. 95-4 at 11-12
(Transcript of Ashton Brown’s Guilty Plea).
65    R. Doc. 59-3 at 12 (Reynajia Variste Guilty Plea), 28 (Vanessa Maxwell
Guilty Plea).
66     Id. at 28 (Vanessa Maxwell Guilty Plea).

                                      23
     Case 2:15-cv-04479-SSV-JCW Document 109 Filed 04/21/16 Page 24 of 37



hearings or any other opportunity to explain their inability to pay, which is

allegedly due only to their indigence.

       Beyond bare or conclusory statements such as “plaintiffs cannot state

a claim under the Heck doctrine,”67 and “the [Heck] rule applies here,”68

defendants have not articulated any argument for applying Heck to plaintiffs’

constitutional claims. Defendants cannot seriously argue that the facts

necessary to support plaintiffs’ section 1983 claims (i.e., the Criminal District

Court judges’ failing to conduct a sufficient inquiry into the criminal

defendants’ good-faith ability to pay) contradict or undermine the factual

bases for plaintiffs’ state-court guilty pleas for theft, battery, and “simple

criminal damage.” Therefore, Heck does not apply. See Powers v. Hamilton

Cty. Pub. Def. Comm’n, 501 F.3d 592, 604 (11th Cir. 2007) (“To prevail in his

§ 1983 suit, [plaintiff] must show that he was not afforded an indigency

hearing to which he had a constitutional right before being committed to jail.

If he succeeds, the resulting judgment in his favor would in no way impugn

his conviction for reckless driving.”).

       B.    Younger Abstention Does Not Apply




67     R. Doc. 52-1 at 13.
68     Id. at 14.

                                          24
     Case 2:15-cv-04479-SSV-JCW Document 109 Filed 04/21/16 Page 25 of 37



       As to the abstention doctrines, defendants first argue that Younger

abstention applies. Following the rule of Younger v. Harris, federal courts

may not enjoin pending state court proceedings. 401 U.S. 37, 42 (1971)

(“[N]ational policy forbid[s] federal courts to stay or enjoin pending state

court proceedings except under special circumstances.”); see also

Ankenbrandt v. Richards, 504 U.S. 689, 705 (1992) (“Younger itself held

that, absent unusual circumstances, a federal court could not interfere with

a pending state criminal prosecution.”). Younger abstention is warranted

when (1) “the federal proceeding would interfere with an ongoing state

judicial proceeding,” (2) the state proceeding “implicates important state

interests,” and (3) the plaintiff has “an adequate opportunity in the state

proceeding[] to raise constitutional challenges.” Bice v. La. Pub. Def. Bd.,

677 F.3d 712, 716 (5th Cir. 2012); accord Middlesex Cty. Ethics Comm. v.

Garden State Bar Ass’n, 457 U.S. 423, 432 (1982).

       Plaintiffs contend that there are no “ongoing state judicial

proceedings” because each plaintiff has been convicted and sentenced.

According to plaintiffs, the Criminal District Court issued final judgments in

their criminal cases “years ago.”69 Defendants argue that plaintiffs are




69     R. Doc. 70 at 4.

                                     25
     Case 2:15-cv-04479-SSV-JCW Document 109 Filed 04/21/16 Page 26 of 37



subject to ongoing criminal proceedings because each of them was sentenced

to pay a certain amount of court courts, and “none have paid in full.”70

According to defendants, plaintiffs’ criminal cases will “remain open until all

assessed costs are paid.”71

       Pending criminal prosecutions are classic “ongoing state judicial

proceedings.” See, e.g., Health Net, Inc. v. Wooley, 534 F.3d 487, 494 (5th

Cir. 2008) (“Younger abstention originally applied only to criminal

prosecutions . . . .”). Once a criminal defendant’s conviction and sentence

have become final, however, his criminal prosecution is no longer “ongoing”

even though the defendant may still be serving the remainder of his sentence.

See generally New Orleans Pub. Serv., Inc. v. Council of New Orleans, 491

U.S. 350, 369 (1989) (“[T]he proceeding is not complete until judicial review

is concluded. . . . For Younger purposes, the State’s trial-and-appeals process

is treated as a unitary system . . . .”); Powers v. Hamilton Cty. Pub. Def.

Comm’n, 501 F.3d 592, 605-06 (11th Cir. 2007) (finding Younger

inapplicable after state-court revoked plaintiff’s probation months before he

filed suit because the “proceedings in state court have long since




70     R. Doc. 52-1 at 3, 5.
71     R. Doc. 78 at 2.

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     Case 2:15-cv-04479-SSV-JCW Document 109 Filed 04/21/16 Page 27 of 37



concluded”); Abusaid v. Hillsborough Cty. Bd. of Cty. Comm’rs, 405 F.3d

1298, 1316 n.9 (11th Cir. 2005) (finding Younger abstention “clearly

erroneous” when plaintiff “has already been tried and convicted . . . and none

of the parties suggests that any charges remain pending against him”);

Trombley v. Cty. of Cascade, Mont., 879 F.2d 866 (9th Cir. 1989) (finding

no ongoing proceeding when plaintiff “has pleaded guilty and is currently out

on parole”); Almodovar v. Reiner, 832 F.2d 1138, 1141 (9th Cir. 1987)

(“Probation is not a pending criminal action for Younger purposes.”);

Moncier v. Jones, No. 3:11-CV-301, 2012 WL 262984, at *5 (E.D. Tenn. Jan.

30, 2012) (explaining that a proceeding is “pending” from “the time of filing

. . . until a litigant has exhausted his state appellant remedies”); Baltzer v.

Birkett, No. 02 C 4718, 2003 WL 366577, at *3 (N.D. Ill. Feb. 19, 2003)

(finding no ongoing proceeding when plaintiff was serving his prison

sentence, but the time for appeal had expired).

       Here, each of the named plaintiffs has pleaded guilty and been

sentenced by the Orleans Parish Criminal District Court—the most recent in

2014, nearly a year before plaintiffs filed this suit.72 With the exception of

Vanessa Maxwell, who appears to have served eighteen months, all of the




72     See R. Doc. 59-3 at 9 (Reynajia Variste Docket Sheet).

                                      27
     Case 2:15-cv-04479-SSV-JCW Document 109 Filed 04/21/16 Page 28 of 37



named plaintiffs were sentenced to “suspended” or “deferred” terms of

imprisonment and sentenced to active or inactive probation. The Criminal

District Court also imposed court costs as part of plaintiffs’ criminal

sentences.73 For some, the court ordered payment of these court costs as a

condition of their probation.74 After sentencing, the Criminal District Court

“referred” plaintiffs to “fines and fees”—the court’s internal collections

department—and marked plaintiffs’ court records as “case closed.”75 It is

undisputed that these convictions and sentences are now final because none

of the plaintiffs directly appealed. Moreover, there are no new pending

prosecutions against any named plaintiff. None of the plaintiffs is currently

incarcerated while awaiting trial or other criminal proceeding, and none

currently has a warrant outstanding for his or her arrest or charges filed

against him or her for nonpayment of court costs or any substantive criminal

offense.76 See Abusaid, 405 F.3d at 1316 n.9 (finding Younger abstention


73   Id. at 4 (Alana Cain Guilty Plea), 8 (Ashton Brown Guilty Plea), 12
(Reynajia Variste Guilty Plea), 28 (Vanessa Maxwell Guilty Plea).
74     See id. at 4 (Alana Cain Guilty Plea).
75   See, e.g., id. at 2 (Alana Cain Docket Sheet), 23 (Vanessa Maxwell
Docket Sheet).
76    See R. Doc. 61 at 2 (“[T]here are no outstanding capias warrants for
nonpayment or late payment of outstanding Orleans Parish Criminal
District Court debts[.]”).

                                       28
   Case 2:15-cv-04479-SSV-JCW Document 109 Filed 04/21/16 Page 29 of 37



“clearly erroneous” when “none of the parties suggests that any charges

remain pending against [the plaintiff]”); Moncier, 2012 WL 262984, at *5

(explaining that a proceeding is “pending” from “the time of filing . . . until a

litigant has exhausted his state appellant remedies”)

      The issue here is whether plaintiffs, merely because their court costs

remain unpaid, are subject to ongoing state judicial proceedings.

Defendants’ only argument is that plaintiffs’ original criminal prosecutions

remain open because their sentences are not “complete” or “satisfied” until

plaintiffs pay the full amount of outstanding court costs. But an incomplete

sentence, such as an undischarged term of imprisonment, probation, or

parole, does not constitute an “ongoing state judicial proceeding” for

purposes of Younger abstention. See, e.g., Trombley, 879 F.2d 866 (9th Cir.

1989) (no ongoing proceeding when plaintiff “is currently out on parole”);

Almodovar, 832 F.2d at 1141 (9th Cir. 1987) (“Probation is not a pending

criminal action for Younger purposes.”); Baltzer, 2003 WL 366577, at *3

(finding no ongoing proceeding when plaintiff was serving his prison

sentence, but the time for appeal had expired). Because the mere existence

of plaintiffs’ undischarged debts does not constitute an “ongoing state

judicial proceeding,” Younger abstention does not apply. See generally

Steffel v. Thompson, 415 U.S. 452, 462 (1974) (“When no state criminal


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   Case 2:15-cv-04479-SSV-JCW Document 109 Filed 04/21/16 Page 30 of 37



proceeding is pending at the time the federal complaint is filed, federal

intervention does not result in duplicative legal proceedings or disruption of

the state criminal justice system; nor can federal intervention, in that

circumstance, be interpreted as reflecting negatively upon the state court’s

ability to enforce constitutional principles.”).

      Defendants’ argument that Bice v. Louisiana Public Defender Board

controls the outcome here is misplaced. In Bice, the Fifth Circuit Court of

Appeals affirmed a district court’s decision to abstain from interfering with

the plaintiff’s pending prosecution in New Orleans Municipal Court. 677

F.3d 712, 715 (5th Cir. 2012). The plaintiff in Bice argued that a Louisiana

law requiring convicted criminal defendants to pay into the state’s Indigent

Defender Fund was unconstitutional under Sixth and Fourteenth

Amendments because the plaintiff’s appointed counsel was biased against

him. Id. at 715-16. Applying Younger, the Fifth Circuit held that the plaintiff

was subject to an ongoing criminal prosecution in municipal court and that

his civil rights challenge would have required “postpon[ing] Bice’s

prosecution until adequate funding is located” or “withdraw[ing] Bice’s

public defender [and] requiring the municipal court judge to locate new

counsel.” Id. at 718-19.




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     Case 2:15-cv-04479-SSV-JCW Document 109 Filed 04/21/16 Page 31 of 37



       Similar circumstances are not present in this case. As noted, each of

the plaintiffs was convicted and sentenced long ago, and those convictions

are now final. None of the plaintiffs is currently subject to criminal charges

in state-court. Therefore, there are no ongoing state judicial proceedings and

abstention under Younger is not warranted here.

       C.    Burford Abstention Does Not Apply Because Plaintiffs’
             Constitutional Claims Do Not Involve a State
             Administrative Procedures

       Defendants also argue that Burford abstention is warranted here

because a ruling that jailing criminal defendants for failing to pay court costs

is unconstitutional would “negat[e] Louisiana law” in Orleans Parish, which

maintains a “comprehensive scheme for amending, reconsidering, and

reviewing criminal sentences.”77 Plaintiffs counter that Burford abstention

is inappropriate for two reasons. First, plaintiffs argue that they have not

challenged the validity of their criminal sentences and therefore do not want

their sentences amended, reconsidered, or reviewed.         Second, plaintiffs

emphasize that regardless of what Louisiana law may allow, “all Louisiana




77     R. Doc. 52-1 at 8-9.

                                      31
     Case 2:15-cv-04479-SSV-JCW Document 109 Filed 04/21/16 Page 32 of 37



parishes, all municipal entities, and all state actors” must abide by the

Constitution of the United States.78

       In Burford v. Sun Oil Co., the Supreme Court affirmed a district court’s

decision to abstain in a case involving “questions of the regulation of the

[Texas oil and gas] industry by the State administrative agency.” 319 U.S.

315, 332 (1943). In support of its holding, the Court emphasized that “the

federal government . . . chose[] to leave the principal regulatory

responsibility with the states.” Id. at 319. After Burford, “[w]here timely and

adequate state-court review is available, a federal court sitting in equity must

decline to interfere with the proceedings or orders of state administrative

agencies.” New Orleans Pub. Serv., Inc. v. Council of New Orleans, 491 U.S.

350, 361 (1989) (emphasis added). As a general rule, “Burford abstention

requires the existence of a state administrative proceeding to which the

federal court could defer.” Lipscomb v. Columbus. Municipal Separate

School District, 145 F.3d 238, 242 (5th Cir. 1998) (emphasis added) (citing

St. Paul Ins. Co. v. Trejo, 39 F.3d 585, 589 (5th Cir. 1994)); see also Ill. Cent.

R.R. Co. v. Guy, 682 F.3d 381, 391 (5th Cir. 2012) (“Burford abstention is

concerned with protecting complex state administrative processes from




78     R. Doc. 70 at 9-10.

                                       32
   Case 2:15-cv-04479-SSV-JCW Document 109 Filed 04/21/16 Page 33 of 37



undue federal inference . . . .” (emphasis added)); Webb v. B.C. Rogers

Poultry, Inc., 174 F.3d 697, 700 (5th Cir. 1999) (“The Burford doctrine allows

a federal court to abstain from exercising its jurisdiction in deference to

complex state administrative procedures.” (emphasis added)).

      Although courts have applied Burford to areas other than state

administrative proceedings, these occasions are rare and arise only when the

case presents state-law issues of wholly local concern. See Estate of Merkel

v. Pollard, 354 F. App’x 88 (5th Cir. 2009) (applying Burford abstention

because adjudication required resolving Texas divorce law); Claudill v.

Eubanks Farms, Inc., 301 F.3d 658 (6th Cir. 2002) (applying Burford

abstention to diversity action for dissolution of a Kentucky corporation); see

generally Aransas Project v. Shaw, 775 F.3d 641, 650 (5th Cir. 2014) (“Of

primary concern in Burford was the involvement of the federal courts in

deciding issues of essentially state law and policy.”).

      Here, plaintiffs’ section 1983 claims neither implicate the procedures

of a state administrative agency nor raise state-law issues of only local

concern. On the contrary, plaintiffs allege that defendants have deprived

them of their constitutional rights—claims that plainly arise under federal

law and that “are entitled to be adjudicated in the federal courts.” McNeese

v. Bd. of Ed. For Cmty. Unit Sch. Dist. 187, Cahokia, Ill., 373 U.S. 668, 674


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   Case 2:15-cv-04479-SSV-JCW Document 109 Filed 04/21/16 Page 34 of 37



(1963) (refusing to apply Burford abstention). Defendants’ argument that

they have validly adhered to Louisiana law misses the point. In evaluating a

constitutional claim, “it is immaterial whether [defendants’] conduct is legal

or illegal as a matter of state law.” Id. Burford abstention does not apply.

      D.    Rooker-Feldman Does Not Apply Because Plaintiffs’
            Constitutional Claims Do Not Require Rejecting Their
            State-Court Convictions

      Finally, defendants argue that the Court should abstain from

adjudicating plaintiffs’ claims under the Rooker-Feldman doctrine. Rooker-

Feldman bars federal district courts from “modify[ing] or revers[ing] state

court judgments.” Truong v. Bank of Am., N.A., 717 F.3d 377, 382 (5th Cir.

2013) (citations omitted); see also Noel v. Hall, 341 F.3d 1148, 1164 (9th Cir.

2003) (holding Rooker-Feldman applies when a federal plaintiff challenges

a state-court judgment as “legal[ly] wrong” or otherwise “erroneous”).

Rooker-Feldman is an especially narrow doctrine, “confined to . . . cases

brought by state-court losers complaining of injuries caused by state-court

judgments . . . and inviting district court review and rejection of those

judgments.” Exxon Mobil Corp. v. Saudi Basic Indus. Corp., 544 U.S. 280,

284 (2005).

      In determining whether Rooker-Feldman applies, a court must

carefully evaluate what it is asked to review and reject. Truong, 717 F.3d at


                                      34
     Case 2:15-cv-04479-SSV-JCW Document 109 Filed 04/21/16 Page 35 of 37



382 (citing Exxon Mobil, 544 U.S. at 284). The court lacks jurisdiction only

when the plaintiff “seeks relief that directly attacks the validity of an existing

state court judgment,” Weaver v. Tex. Capital Bank, N.A., 660 F.3d 900, 904

(5th Cir. 2011) (emphasis added), or the plaintiff’s federal claims “are so

inextricably intertwined with a state judgment that the federal court is in

essence being called upon to review the state court decision.” Ill. Cent. R.R.

Co. v. Guy, 682 F.3d 381, 390-91 (5th Cir. 2012) (citing D.C. Court of Appeals

v. Feldman, 460 U.S. 462, 483 n.16 (1983)). Rooker-Feldman does not

prohibit a federal plaintiff from “present[ing] some independent claim, albeit

one that denies a legal conclusion that a state court has reached in a case to

which he was a party.” Exxon Mobil, 544 U.S. at 293.

       Defendants’ arguments in support of abstention under Rooker-

Feldman rest on a misunderstanding of the relief plaintiffs seek through

their section 1983 claims. Defendants emphasize that all of the named

plaintiffs pleaded guilty to their respective criminal charges and that none of

their convictions or sentences has been reversed or expunged. Defendants

argue that plaintiffs’ efforts to “reconsider[], amend[], . . . or appeal” their

sentences must be done in state court.79 But plaintiffs’ allegations, as well as




79     R. Doc. 52-1 at 10.

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     Case 2:15-cv-04479-SSV-JCW Document 109 Filed 04/21/16 Page 36 of 37



their arguments in opposition to dismissal, make clear that plaintiffs do not

contest the validity of their state-court convictions or sentences. Indeed,

plaintiffs plainly admit that none of them “is challenging his or her criminal

conviction or sentence.”80 Nor do they argue “that their convictions should

be overturned or that the monetary portion of the judgment against them is

invalid.”81

       Instead, plaintiffs challenge the means by which defendants’ attempt

to enforce the state court judgment, an issue separate and distinct from the

validity of the judgment itself. See Mosley v. Bowie Cty. Tex., 275 F. App’x

327, 329 (5th Cir. 2008) (distinguishing between challenging a judgment

and challenging defendants’ “efforts to enforce” the judgment); Ray v.

Judicial Corr. Servs., No. 12-CV-02819-RDP, 2013 WL 5428360, at *8-9

(N.D. Ala. Sept. 26, 2013) (finding plaintiffs’ challenge to arrests for

nonpayment attacks only “the post-judgment probationary program[,]”

rather than the “merits” or “bases” of the state court decisions). Because a

claim that defendants violated plaintiffs’ constitutional rights in defendants’

enforcement of the state court judgments “do[es] not ask the district court to




80     R. Doc. 70 at 2.
81     Id.

                                      36
      Case 2:15-cv-04479-SSV-JCW Document 109 Filed 04/21/16 Page 37 of 37



review, modify, or nullify, a final order of a state court, [this claim is] not

barred under the Rooker-Feldman doctrine. Mosley, 275 F. App’x at 329

(quoting Weekly v. Morrow, 204 F.3d 613, 615 (5th Cir. 2000)).

        In sum, none of the foregoing abstention doctrines applies to plaintiffs’

section 1983 civil rights claims. Because the Court has subject matter

jurisdiction over these claims and supplemental jurisdiction over plaintiffs’

state-law claims, the Court denies defendants’ motion to dismiss for lack of

jurisdiction under Rule 12(b)(1).



IV.     CONCLUSION

        For the foregoing reasons, the Court DENIES defendants’ motion to

dismiss for lack of jurisdiction.



           New Orleans, Louisiana, this _______
                                         21st   day of April, 2016.




              ___________________________________
                          SARAH S. VANCE
                   UNITED STATES DISTRICT JUDGE




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